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                          UNITED STATES BANKRUPTCY COURT
                          NOORTHERN DISTRICT OF MISSISSIPPI



     IN THE MATTER OF:

     JASON FLY LOGGING, LLC                                    NO.: 18-10483 -JDW
     Debtor-in-Possession.                                     CHAPTER 11
     .


      MOTION TO EXPEDITE HEARING ON MOTION BY JASON FLY LOGGING,
         LLC TO ENTER INTO CREDIT LINE WITH DRAGON WOODLAND
                  CORPORATION FOR OPERATING CAPITAL
                    PURSUANT TO 11 U.S.C. SECTION 364


             Comes now Jason Fly Logging, LLC (“Debtor”) through counsel and its’ officers
     requesting the Court to expedite the hearing and reducing the time for notice to creditors
     and parties in interest on the Motion filed on February 14, 2018 (ECF Docket No. 6) to
     enter into a line of credit for operating capital with Dragon Woodland Corporation
     pursuant to 11 U.S.C. Section 364 (c) and (d) on an expedited basis and would assert as
     follows:
     1.      The Debtor filed a petition for relief under Chapter 11 under the US Bankruptcy
             Code on February 12, 2018 and order of relief was granted on same day. The
             Debtor is now operating its business as debtor-in-possession pursuant to 11
             U.S.C. Sections 1107(a) and 1108 of the Bankruptcy Code. No request has been
             made for the appointment of a trustee or examiner.
     2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections 157
             and 1334. This is a core proceeding pursuant to U.S.C. Section 157(b)(2)(A) and
             (D).
     3.      Debtor is a Mississippi limited liability corporation currently operating a logging
             business which is dependent on weather for operation of the business and
             continued revenue for operations. The weather has been rainy, snowy and
             muddy in past months which has inhibited the operation of the business. The
             Debtor without being able to cut timber and sell same is in need of interim

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             financing or cash infusion. Counsel has been informed they need cash infusion
             by the end of this week.
     4.      The terms of the operating line of credit are stated in motion and such funds are
             necessary for operation of the business as of end of this week.
     5.      The Debtor is unable to obtain unsecured credit for operation of the business and
             the Debtor’s need for interim financing is compelling. The line of credit will
             ensure that the Debtor is able to pay the ongoing expenses that arise in the
             ordinary course of business and to ensure the continuous operation of the
             business during the pendency of the Chapter 11 case
     6.      The Debtor and its creditors, as well as the customers, face immediate and
             irreparable harm if the Court does not approve the interim financing. If the Court
             does not approve the line of credit the Debtor will be unable to pay the
             contractors, current utilities, supplies, fuel and the numerous day-to-day expenses
             incurred in its daily operations of the logging business and be forced to shut
             down. Even a temporary cessation of operations would be devastating to the
             Debtor’s prospect of maximizing the return to creditors. In short a shutdown of
             business would all but rule out any chance to reorganize the Debtor’s business
             and avoid a wasteful liquidation of the Debtor’s assets.
     7.      The Debtor asserts there is an immediate need for an emergency hearing and
             requests the hearing on motion be expedited by court.
                      WHEREFORE, the Debtor respectfully requests entry of an order
             granting the relief requested expediting such hearing and further relief as is just
             and proper.

                                               Respectfully submitted,
                                               /s/ Toni Campbell Parker
                                               TONI CAMPBELL PARKER (MS#4018)
                                               ATTORNEY FOR DEBTOR
                                               615 OAKLEAF OFFICE LANE, SUITE 201
                                               MEMPHIS, TENNESSEE 38117
                                               (901) 683-0099
                                               FAX: (866) 489-7938
                                               Tparker001@bellsouth.net




                                        CERTIFICATE OF SERVICE

     The undersigned hereby certifies that a copy of the foregoing was sent to the entities or
     individuals listed below via facsimile, email or first class U.S. mail, postage prepaid this
     the 15th day of February, 2018:
                                                   2
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     Jason Fly Logging, LLC
     Debtor-in-Possession
     115 Jeff Sanders Rd.
     Batesville MS 38606

     U.S. Trustee
     501 East Court St., Ste. 6-430
     Jackson, MS 39201
     Margaret.Middleton@usdoj.gov

     Randall Fishman
     Attorney for Dragon Woodland Corporation
     Ballin, Ballin & Fishman PC
     200 Jefferson Ave., Ste. 1250
     Memphis, TN 38103
     rfishman@bbfpc.com

     List of Creditors Attached hereto




                                                /s/ Toni Campbell Parker
                                                Toni Campbell Parker




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